                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


    ERNEST KEVIN TRIVETTE,
    JASON ANDREW COLLINS,
    ALEX GORDON STINNETT,
    and DISABILITY RIGHTS TENNESSEE,                  Civil No. 3:20-cv-00276
                                                      Judge Trauger
                       Plaintiffs,

    v.

    TENNESSEE DEPARTMENT OF
    CORRECTION,
                 Defendant.




                                FIRST AMENDED COMPLAINT


         Plaintiffs Ernest Kevin Trivette, Alex Gordon Stinnett, Jason Andrew Collins, and

Disability Rights Tennessee (“DRT”), by and through counsel, hereby file this First Amended

Complaint against the Tennessee Department of Correction (“TDOC”).

                                       INTRODUCTION

         1.     Plaintiff Ernest Kevin Trivette was in the custody of TDOC from approximately

June 2015 to April 2, 2019. 1 During that period, he was in multiple TDOC facilities. He is

currently on parole.




1
  Plaintiff Trivette was previously in TDOC custody from approximately 1979 to 2002. While
he experienced similar issues during this prior incarceration, this First Amended Complaint is
limited to Mr. Trivette’s claims against TDOC for discrimination against him while he was in
TDOC custody from approximately 2015 to 2019.


Case 3:20-cv-00276          Document 18-1      Filed 07/13/20     Page 1 of 43 PageID #: 115
       2.      Mr. Trivette is Deaf. 2 His primary language is American Sign Language (“ASL”)

not spoken or written English.

       3.      Throughout Mr. Trivette’s time in TDOC custody, TDOC consistently failed to

provide effective communication to him.

       4.      Mr. Trivette regularly requested that TDOC provide qualified sign language

interpreters to him when necessary to ensure effective communication. TDOC did so on only a

handful of occasions. Instead of providing Mr. Trivette with qualified sign language interpreters,

TDOC largely attempted to communicate with Mr. Trivette verbally, by written notes, and/or by

relying on a hearing inmate who has only a rudimentary knowledge of sign language and no

formal training as an interpreter to “interpret” for him, including for multiple medical and

psychiatric appointments. None of these methods resulted in effective communication for Mr.

Trivette; they also compromised his privacy and safety.

       5.      Mr. Trivette also regularly requested access to appropriate telecommunication

equipment necessary for him to communicate with his mother and friends. TDOC failed to

provide such equipment until approximately the fall of 2018, a few months prior to Plaintiff

Trivette’s parole. Even after providing such equipment, TDOC failed to ensure that the

equipment was in good working order. In addition, throughout Mr. Trivette’s time in custody,

TDOC placed more stringent rules on his use of telecommunication equipment than the rules for




2
  Uppercase Deaf typically refers to people like Mr. Trivette who share a language—American
Sign Language (ASL)—and culture with other Deaf people. In contrast, lowercase deaf typically
refers to people who do not hear but are not participants in Deaf culture. For additional
information, see Community and Culture—Frequently Asked Questions, The National
Association of the Deaf at https://www.nad.org/resources/american-sign-language/community-
and-culture-frequently-asked-questions/ (last visited on March 30, 2020).
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Case 3:20-cv-00276         Document 18-1        Filed 07/13/20     Page 2 of 43 PageID #: 116
hearing inmates to use phones. Thus, TDOC deprived Mr. Trivette of equal access to its phone

program throughout his time in TDOC custody.

       6.      TDOC’s failure to provide Mr. Trivette with effective communication and equal

access to TDOC’s programs and services is part of a longstanding and ongoing pattern and

practice of discrimination against deaf and hard of hearing inmates.

       7.      Plaintiff Alex Gordon Stinnett is currently in the custody of TDOC. He entered

TDOC custody on approximately January 31, 2020 and is not eligible for parole until April 2021.

He was initially held at Bledsoe County Correctional Facility (BCCX) and was recently

transferred to Northeast Correctional Complex (NECX).

       8.      Mr. Stinnett is Deaf. His primary language is ASL, not spoken or written English.

       9.      Since Mr. Stinnett’s entry into TDOC custody, TDOC has consistently failed to

provide effective communication to him.

       10.     Mr. Stinnett has regularly requested and continues to request that TDOC provide

qualified sign language interpreters to him when necessary to ensure effective communication.

However, TDOC has not done so. Instead of providing Mr. Stinnett with qualified sign language

interpreters, TDOC has largely attempted to communicate with Mr. Stinnett verbally and by

written notes. None of these methods result in effective communication for Mr. Stinnett; they

also compromise his privacy and safety.

       11.     Mr. Stinnett has also regularly requested access to appropriate telecommunication

equipment necessary for him to effectively communicate with his mother and other Deaf family

members. TDOC has denied him access to such equipment. In addition, TDOC has placed more

stringent rules on the existing inappropriate telecommunication equipment than the rules for




                                                3

Case 3:20-cv-00276        Document 18-1        Filed 07/13/20     Page 3 of 43 PageID #: 117
hearing inmates to use phones. TDOC has deprived and is continuing to deprive Mr. Stinnett of

equal access to its phone program.

       12.     TDOC’s failure to provide Mr. Stinnett with effective communication and equal

access to TDOC’s programs and services is part of a longstanding and ongoing pattern and

practice of discrimination against deaf and hard of hearing inmates.

       13.     Plaintiff Jason Andrew Collins is currently in the custody of TDOC. He entered

TDOC custody on approximately February 19, 2020 and has been held at BCCX since that time.

He has an anticipated end sentence date of October 2, 2022.

       14.     Mr. Collins is Deaf. His primary language is ASL, not spoken or written English.

       15.     Mr. Collins needs qualified sign language interpreters for complex and/or lengthy

communications. His deafness and need for interpreters is obvious. Instead of providing Mr.

Collins with qualified sign language interpreters, TDOC has largely attempted to communicate

with Mr. Collins verbally, with gestures, and by written notes. None of these methods result in

effective communication for Mr. Collins; they also compromise his privacy and safety.

       16.     Mr. Collins has regularly requested access to appropriate telecommunication

equipment necessary for him to effectively communicate with his Deaf children and other

hearing family members. TDOC has denied him access to such equipment. In addition, TDOC

has placed more stringent rules on the existing inappropriate telecommunication equipment than

the rules for hearing inmates to use phones. TDOC has deprived and is continuing to deprive

Mr. Collins of equal access to its phone program.

       17.     TDOC has refused to allow staff and other inmates to have access to written

materials in order to learn fingerspelling and basic signs for rudimentary communication with




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Case 3:20-cv-00276        Document 18-1        Filed 07/13/20     Page 4 of 43 PageID #: 118
Mr. Collins. As a result, Mr. Collins is being deprived of equal access to day-to-day interactions

with TDOC staff and his peers.

       18.     TDOC’s failure to provide Mr. Collins with effective communication and equal

access to TDOC’s programs and services is part of a longstanding and ongoing pattern and

practice of discrimination against deaf and hard of hearing inmates.

       19.     In addition, for the past several years, DRT has repeatedly advocated for TDOC

to provide effective communication to deaf and hard of hearing inmates, and, in the process has

expended agency resources, money, and time. DRT has engaged in this advocacy on behalf of

both DRT’s individual clients and systemically on behalf of all deaf and hard of hearing inmates

in TDOC custody.

       20.     Prior to and separate from this litigation, DRT has invested and spent significant

time, manpower, and related financial resources into its advocacy for TDOC to provide effective

communication to deaf and hard of hearing inmates.

       21.     Despite DRT repeatedly informing TDOC about barriers to effective

communication and the federal rights infringed upon thereby and advocating for TDOC to make

changes to its actions, policies, and procedures, and to provide appropriate training to its

personnel, TDOC continues to fail to provide effective communication to deaf and hard of

hearing inmates and continues to be in violation of federal laws.

       22.     Plaintiffs bring these claims under title II of the Americans with Disabilities Act,

42 U.S.C. § 12131 et seq. (“ADA” or “Title II”), and Section 504 of the Rehabilitation Act, 29

U.S.C. § 794 (“Section 504”), to challenge TDOC’s discrimination against and resulting injury

to Mr. Trivette, Mr. Stinnett, Mr. Collins, and deaf and hard of hearing inmates currently in

TDOC custody.



                                                  5

Case 3:20-cv-00276         Document 18-1        Filed 07/13/20      Page 5 of 43 PageID #: 119
        23.     TDOC discriminated against Mr. Trivette in violation of the ADA on the basis of

his disability and in violation of Section 504 solely by reason of his disability.

        24.     TDOC has discriminated and is continuing to discriminate against Mr. Stinnett,

Mr. Collins and other deaf and hard of hearing inmates in TDOC custody in violation of the

ADA on the basis of their disabilities and in violation of Section 504 solely by reason of their

disabilities.

                                 JURISDICTION AND VENUE

        25.     This action arises under the laws of the United States. Jurisdiction is conferred

upon this court pursuant to 28 U.S.C. §§ 1331 and 1343.

        26.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) because TDOC’s

central office is in the Middle District of Tennessee.

                                             PARTIES

        27.     Plaintiff Trivette is on parole from TDOC custody. He resides in Jackson,

Tennessee.

        28.     Mr. Trivette is Deaf.

        29.     Mr. Trivette has an impairment that substantially limits major life activities that

include but are not limited to hearing.

        30.     As such, he is a qualified individual with a disability as that term is used in the

ADA and Section 504.

        31.     Mr. Trivette has been Deaf since early childhood, and ASL is his primary

language.




                                                  6

Case 3:20-cv-00276          Document 18-1        Filed 07/13/20       Page 6 of 43 PageID #: 120
       32.     Plaintiff Stinnett is currently in TDOC custody. He entered TDOC custody on

approximately January 31, 2020. He was initially held at BCCX in Pikeville, Tennessee and is

now being held at Northeast Correctional Complex (NECX) in Mountain City, Tennessee.

       33.     Mr. Stinnett is Deaf.

       34.     Mr. Stinnett has an impairment that substantially limits major life activities that

include but are not limited to hearing.

       35.     As such, Mr. Stinnett is a qualified individual with a disability as that term is used

in the ADA and Section 504.

       36.     Mr. Stinnett has been Deaf since early childhood and ASL is his primary

language.

       37.     Plaintiff Collins is currently in TDOC custody. He entered TDOC custody on

approximately February 19, 2020 and since that time has been held at BCCX in Pikeville,

Tennessee.

       38.     Mr. Collins is Deaf.

       39.     Mr. Collins has an impairment that substantially limits major life activities that

include but are not limited to hearing.

       40.     As such, Mr. Collins is a qualified individual with a disability as that term is used

in the ADA and Section 504.

       41.     Mr. Collins has been Deaf since early childhood and ASL is his primary

language.

       42.     Plaintiff DRT is a Tennessee nonprofit corporation with its principal place of

business in Nashville, Tennessee. DRT maintains regional offices in Nashville, Memphis, and

Knoxville, Tennessee. It serves individuals with disabilities in all 95 counties in Tennessee.



                                                 7

Case 3:20-cv-00276         Document 18-1        Filed 07/13/20      Page 7 of 43 PageID #: 121
         43.   DRT is the federally mandated protection and advocacy system for the State of

Tennessee. As such, DRT is authorized by multiple federal statutes to, among other things,

pursue administrative, legal, and other remedies on behalf of people with disabilities, including

but not limited to, people who are deaf and hard of hearing and are in the custody of TDOC,

whose federally-protected rights are being violated.

         44.   DRT joins this suit on its own behalf as an organization that has suffered specific

economic injury separate and apart from this litigation as a result of TDOC’s longstanding and

ongoing pattern and practice of discrimination against deaf and hard of hearing inmates.

         45.   DRT also joins this lawsuit separately in its representative capacity in conjunction

with Plaintiffs Trivette, Stinnett, and Collins, and on behalf of and to vindicate the rights of deaf

and hard of hearing inmates in TDOC custody who are being denied equal access to programs

and services and effective communication in violation of the ADA and Section 504.

         46.   Defendant TDOC is a department of the State of Tennessee.

         47.   TDOC receives federal financial assistance as that term is used in 29 U.S.C.

§ 794.

         48.   TDOC’s central office is in Nashville, Tennessee.

                                              FACTS
American Sign Language (ASL)

         49.   ASL is a visual language. It is a complete, complex language that employs signs

made by moving the hands combined with facial expressions and postures of the body. For

example, “English speakers ask a question by raising the pitch of their voice; ASL users ask a

question by raising their eyebrows, widening their eyes, and tilting their bodies forward.”

American Sign Language, National Institute on Deafness and Other Communication Disorders

(NIDCD) (May 8, 2019), https://www.nidcd.nih.gov/health/american-sign-language.

                                                  8

Case 3:20-cv-00276         Document 18-1         Filed 07/13/20      Page 8 of 43 PageID #: 122
        50.    ASL is not English in gestures. It has grammar and syntax that are completely

different from English. When deaf people are raised using ASL as their first or primary

language, written English is a foreign language, which is often acquired incompletely and

imperfectly.

        51.    Deaf people for whom ASL is their primary language almost always require the

services of a qualified sign language interpreter for effective communication with people who

speak English, especially when exchanging lengthy and complex information.

        52.    Deaf people for whom ASL is their primary language almost always require the

services of a qualified sign language interpreter for effective communication with people who

write notes to them in English and for effective communication about the content of English

documents, especially when the note or document involves the exchange of lengthy and complex

information.

        53.    Becoming a qualified sign language interpreter takes many years of training and

experience. Knowing some sign language is not sufficient to be a qualified sign language

interpreter. Even being fluent in sign language is not sufficient to be a qualified sign language

interpreter. Extensive formal training as an interpreter is needed to be a qualified sign language

interpreter.

        54.    According to the Registry of Interpreters for the Deaf (“RID”), “Interpreting is a

complex process that requires a high degree of linguistic, cognitive and technical skills in both

English and American Sign Language (ASL)….Interpreters must thoroughly understand the

subject matter in which they work so that they are able to convert information from one

language, known as the source language, into another, known as the target language.”

Professional Sign Language Interpreting Standard Practice Paper, Registry of Interpreters for



                                                 9

Case 3:20-cv-00276         Document 18-1        Filed 07/13/20      Page 9 of 43 PageID #: 123
the Deaf, Inc. (Updated 2007), https://rid.org/about-rid/about-interpreting/standard-practice-

papers/.

        55.    ADA regulations make clear a “[q]ualified interpreter means an interpreter who…

is able to interpret effectively, accurately, and impartially, both receptively and expressively,

using any necessary specialized vocabulary. Qualified interpreters include, for example, sign

language interpreters….” 28 C.F.R. § 36.104.

TDOC’s Failure to Provide Qualified Sign Language Interpreters

        Mr. Trivette

        56.    ASL is Mr. Trivette’s primary language.

        57.    Mr. Trivette asked TDOC many times to provide a qualified sign language

interpreter.

        58.    TDOC did so on only a handful of occasions.

        59.    The Parole Board required Mr. Trivette to complete a cognitive behavioral

intervention program (“CBIP”) prior to being released on parole.

        60.    TDOC did not provide qualified interpreters for the CBIP program.

        61.    No captioning was displayed for the videos shown during the CBIP program.

        62.    As a result, Mr. Trivette sat through the CBIP program, which lasted

approximately two months, without effective access to the information provided.

        63.    During the CBIP program, TDOC staff regularly gave Mr. Trivette written tests.

        64.    Mr. Trivette did not understand these tests. He was generally unable to even

guess at the answers and often left the answers to many of the questions blank.

        65.    TDOC offers Graduate Equivalency Degree (GED) classes and other classes to

inmates.



                                                 10

Case 3:20-cv-00276        Document 18-1         Filed 07/13/20      Page 10 of 43 PageID #: 124
       66.     Mr. Trivette requested that TDOC provide an interpreter for GED classes.

       67.     TDOC refused to provide an interpreter for Mr. Trivette for GED classes.

       68.     As a result, Mr. Trivette was not able to participate in TDOC’s GED program or

was not able to participate on an equal basis.

       69.     As a result, Mr. Trivette was not able to obtain his GED.

       70.     The lack of a GED left Mr. Trivette with fewer employment opportunities and

lower anticipated future earnings when compared with those who have GEDs.

       71.     TDOC provided certain information to Mr. Trivette only in written English.

       72.     The information TDOC provided to Mr. Trivette only in written English included

information relating to prison rules, the grievance process, and the Prison Rape Elimination Act

(PREA).

       73.     Mr. Trivette’s understanding of this information was crucial to his health and

safety while in TDOC custody.

       74.     Mr. Trivette was unable to fully understand that information and thus was at risk

for unwarranted discipline, inability to report infractions, and other violations of his rights.

       75.     TDOC provided certain forms to Mr. Trivette only in written English.

       76.     The forms TDOC provided to Mr. Trivette only in written English included forms

regarding consent for medical treatment.

       77.     Mr. Trivette was unable to fully understand any of those forms provided to him

only in written English.

       78.     Because he felt pressured by TDOC staff, Mr. Trivette often signed forms without

understanding them.




                                                  11

Case 3:20-cv-00276         Document 18-1         Filed 07/13/20      Page 11 of 43 PageID #: 125
       79.      On multiple occasions, TDOC used one or more inmates who allegedly knew

some sign language (“inmate signers”) to “interpret” for Mr. Trivette instead of providing a

qualified sign language interpreter.

       80.      TDOC used inmate signers for some of Mr. Trivette’s medical appointments.

       81.      TDOC’s own records document the use of an inmate signer for multiple

communications with Mr. Trivette instead of a qualified sign language interpreter.

       82.      The following paragraphs provide a handful of examples of the many instances on

which TDOC denied Mr. Trivette required effective communication.

             a. A March 16, 2016 entry in Mr. Trivette’s medical records from TDOC states as

                follows: “Advised c/o u-11 of need for IM to accompany PT for purpose of sign

                language/communication officer states understanding and will send both for 1145

                Appt today.”

             b. A note from that March 16, 2016 visit with the Chronic Disease Clinic indicates,

                “Sign language utilized by cellmate for communication.”

             c. A July 19, 2016 note from Rachael Whegber, PNPC it appears to read, in part, as

                follows: “Pt seen today, states he has not been seen by PT. The inmate is ‘dumb’

                but with the help of his [illegible] cellmate he acknowledge [sic] that he did not

                know why he is here.”

             d. A November 29, 2017 note regarding dental treatment for Mr. Trivette states, in

                part, “Do you have someone that signs for you?” In response, Mr. Trivette

                identified the inmate most frequently used by TDOC as an inmate signer for Mr.

                Trivette.




                                                 12

Case 3:20-cv-00276          Document 18-1       Filed 07/13/20      Page 12 of 43 PageID #: 126
         e. A December 11, 2017 note regarding dental treatment states, “I will schedule you

            in approximately 1 molt month. It will be for wax bite. I will send [inmate

            signer] a slip again – we will need him for sure at next appt.”

         f. On April 25, 2018, Mr. Trivette requested that TDOC provide a qualified sign

            language interpreter for religious services. The chaplain responded: “Asking

            some of our volunteers if they can help on this issue!” TDOC did not provide an

            interpreter to Mr. Trivette so he stopped attending religious services.

         g. Between February 12, 2019 and April 2, 2019, Northeast Correctional Complex

            (“NECX”) Clinical Case Manager Kellie Shoun met with Mr. Trivette on

            approximately eleven occasions. These meetings were regarding case

            management services related to his upcoming parole. On February 12, 2019, Ms.

            Shoun noted, “Inmate is deaf and his interpreter was not available. CCM

            communicated with inmate via written communication. CCM will ensure

            inmate’s interpreter is available for next appointment.”

         h. Other than a few notes that make no reference at all to an interpreter, Ms. Shoun’s

            notes for the remainder of the appointments repeatedly indicate that “inmate’s

            interpreter” was present.

         i. All of Ms. Shoun’s references to “inmate’s interpreter” and “his interpreter” are

            references to an inmate signer who is not a qualified sign language interpreter.

         j. In a February 5, 2020 Memo addressed To Whom It May Concern, NECX’s

            Clinical Case Manager Kellie Shoun documents that TDOC has used the same

            inmate signer as a “sign language interpreter” for many years. She notes that this

            specific inmate signer has assisted her and many other staff members “in working



                                             13

Case 3:20-cv-00276     Document 18-1        Filed 07/13/20      Page 13 of 43 PageID #: 127
               with clients in need of an interpreter.” While Ms. Shoun inaccurately states that

               the inmate signer is fluent in ASL, this memo documents that TDOC’s reliance on

               unqualified inmate signers has occurred repeatedly and remains ongoing.

        83.    Throughout his time in TDOC custody from approximately June 2015 - April 2,

2019, with the exception of a handful of occasions when it provided qualified sign language

interpreters to him, TDOC failed to provide effective communication to Mr. Trivette for all

complex and/or lengthy written and spoken English information, including that provided about

grievance and PREA procedures and during orientation, medical appointments, dental

appointments, case management, church services, the CBIP program, and the GED program.

        Mr. Stinnett

        84.    ASL is Mr. Stinnett’s primary language

        85.    TDOC is aware that Mr. Stinnett is Deaf.

        86.    Mr. Stinnett’s need for a qualified sign language interpreter for communications is

obvious.

        87.    Mr. Stinnett has asked TDOC many times to provide a qualified sign language

interpreter.

        88.    TDOC has not provided a qualified sign language interpreter to Mr. Stinnett.

        89.    TDOC did not provide an interpreter to Mr. Stinnett for orientation.

        90.    TDOC did not provide an interpreter to Mr. Stinnett for classification.

        91.    According to TDOC, the STRONG-R risk and needs assessment is used to

identify “the most efficient case-plan, complete with appropriate programming, providing each

offender the opportunity to address the root of their criminal behavior.”




                                                14

Case 3:20-cv-00276        Document 18-1        Filed 07/13/20     Page 14 of 43 PageID #: 128
https://www.facebook.com/TNDepartmentofCorrection/photos/a.150864261627612/1691994620

847894/?type=1&theater (last accessed on June 29, 2020).

       92.     TDOC also notes, “The STRONG-R is the cornerstone of the Public Safety Act.”

Id.

       93.     TDOC did not provide an interpreter to Mr. Stinnett for the STRONG-R risks and

needs assessment.

       94.     TDOC attempted to administer the STRONG-R risks and needs assessment to Mr.

Stinnett through written notes.

       95.     TDOC’s written notes did not result in effective communication with Mr. Stinnett

for the STRONG-R needs assessment.

       96.     Mr. Stinnett did not fully understand the STRONG-R needs assessment.

       97.     Mr. Stinnett spent significantly more time completing the STRONG-R needs

assessment than hearing inmates.

       98.     TDOC did not provide a qualified sign language interpreter to Mr. Stinnett for his

Tuberculosis (TB) skin test, results, or medication.

       99.     Mr. Stinnett does not understand the purpose or results of his TB skin test.

       100.    TDOC gave Mr. Stinnett medication related to his TB skin test. Mr. Stinnett does

not know what that medication was.

       101.    TDOC did not provide a sign language interpreter to Mr. Stinnett for information

about COVID-19.

       102.    Mr. Stinnett does not fully understand the written information TDOC provided

about COVID-19.




                                                15

Case 3:20-cv-00276        Document 18-1        Filed 07/13/20     Page 15 of 43 PageID #: 129
        103.   TDOC tested Mr. Stinnett for COVID-19 without explaining what the test was

for.

        104.   TDOC did not provide a sign language interpreter to Mr. Stinnett for information

about the Prison Rape Elimination Act (PREA).

        105.   Mr. Stinnett does not fully understand the written information TDOC provided

about PREA.

        106.   Mr. Stinnett was scheduled for a parole hearing in April 2020.

        107.   Due to COVID-19, no inmates at BCCX were allowed to attend parole hearings in

person during the period Mr. Stinnett’s hearing was scheduled to be held. Inmates were instead

given the option to continue their hearing to a later time or to waive their right to appear.

However, TDOC did not provide a qualified sign language interpreter to explain this to Mr.

Stinnett.

        108.   TDOC did not provide a qualified sign language interpreter to Mr. Stinnett

regarding his options to continue the hearing or waive his appearance at the hearing.

        109.   TDOC did not provide a qualified sign language interpreter to Mr. Stinnett for

review of the paperwork regarding his options for the April 2020 parole hearing.

        110.   Mr. Stinnett did not understand the paperwork regarding his options for the April

2020 parole hearing. As a result, he inadvertently waived his appearance at that hearing. So, a

nonappearance hearing was held. He is not eligible for another parole hearing until April 2021.

        111.   TDOC did not provide Mr. Stinnett with an interpreter for information about the

cognitive behavior intervention program (CBIP).

        112.   Mr. Stinnett did not fully understand written information about the CBIP

program.



                                                 16

Case 3:20-cv-00276        Document 18-1         Filed 07/13/20      Page 16 of 43 PageID #: 130
       113.    Mr. Stinnett has signed up for the CBIP program without understanding what that

program is.

       114.    During Mr. Stinnett’s time at BCCX, he was penalized for attempting to

communicate during head count. However, due to TDOC’s failure to use a qualified sign

language interpreter to review rules with him, Mr. Stinnett was unaware he was violating a rule.

When he indicated he was unaware, TDOC staff told him he should look at the pictures in the

handbook.

       Mr. Collins

       115.    ASL is Mr. Collins’ primary language.

       116.    TDOC is aware that Mr. Collins is Deaf.

       117.    Mr. Collins need for a qualified sign language interpreter for communications is

obvious.

       118.    TDOC has not provided a qualified sign language interpreter to Mr. Collins at any

time during his incarceration.

       119.    TDOC did not provide an interpreter to Mr. Collins for orientation.

       120.    TDOC did not provide an interpreter to Mr. Collins for classification.

       121.    TDOC did not provide an interpreter to Mr. Collins for the STRONG-R risk and

needs assessment.

       122.    TDOC attempted to administer the STRONG-R risks and needs assessment to Mr.

Collins through written notes.

       123.    TDOC’s written notes did not result in effective communication with Mr. Collins

for the STRONG-R needs assessment.

       124.    Mr. Collins did not fully understand the STRONG-R needs assessment.



                                               17

Case 3:20-cv-00276        Document 18-1       Filed 07/13/20     Page 17 of 43 PageID #: 131
        125.    TDOC did not provide a qualified sign language interpreter to Mr. Collins when

reviewing his charges.

        126.    Mr. Collins did not fully understand the information TDOC provided about his

charges. This resulted in incorrect information remaining in his file.

        127.    TDOC re-administered the STRONG-R needs assessment to Mr. Collins due to

incorrect information about his charges.

        128.    TDOC did not provide an interpreter to Mr. Collins when re-administering the

STRONG-R needs assessment. They relied on written notes which did not result in effective

communication. So, Mr. Collins still did not fully understand the STRONG-R needs assessment

when it was re-administered to him.

        129.    TDOC did not provide an interpreter to Mr. Collins for information about

COVID-19.

        130.    Mr. Collins did not fully understand the written information TDOC provided

about COVID-19.

        Lack of TDOC Policies for Effective Communication

        131.    TDOC has no policy regarding provision of qualified sign language interpreters.

        132.    TDOC has no procedure regarding provision of qualified sign language

interpreters.

        133.    TDOC has no policy regarding ensuring effective communication with people

who are deaf and hard of hearing.

        134.    TDOC has no procedure regarding ensuring effective communication with people

who are deaf and hard of hearing.




                                                 18

Case 3:20-cv-00276        Document 18-1        Filed 07/13/20      Page 18 of 43 PageID #: 132
        135.    In contrast, TDOC has a detailed Limited English Proficiency (LEP) policy for

providing communication to hearing individuals who use spoken languages other than English.

See TDOC Policy 103.10.1. Although the LEP policy contains one reference to interpreters for

the “hearing impaired,” it does not otherwise provide guidance about how or when to obtain or

utilize the interpreters.

        136.    Upon information and belief, TDOC does not have a contract with any agencies

which provide sign language interpreters.

        137.    TDOC continues to refuse to provide qualified sign language interpreters to deaf

and hard of inmates currently in custody.

Technology for Phone Access by Deaf and Hard of Hearing Inmates

        138.    Because deaf people cannot use a conventional telephone, technology has

developed to permit them to communicate at a distance.

        139.    The earliest such technology, the teletypewriter or TTY, was invented in

approximately 1964. It involved placing a standard telephone handset into an “acoustic coupler”

connected to a teleprinter machine. Over time, the device evolved into a single piece of

equipment that included a QWERTY keyboard and was connected to a phone jack.

        140.    A TTY requires that individuals at both ends of the communication have specific

TTY equipment.

        141.    In a TTY communication, each participant types out in written English his or her

side of the conversation, then waits while the other person types back.

        142.    As such, TTY communication is a more cumbersome form of communication

than a telephone conversation between hearing people.




                                                19

Case 3:20-cv-00276          Document 18-1      Filed 07/13/20     Page 19 of 43 PageID #: 133
        143.   In addition, deaf people who do not communicate via written English, but

primarily communicate via ASL, cannot communicate effectively using a TTY.

        144.   For the same reason, TTY communication is a more cumbersome form of

communication than a videophone conversation between deaf people or a deaf person and a

hearing person who knows ASL.

        145.   As technology has evolved, fewer and fewer deaf people own or use TTYs.

        146.   It is more and more common for deaf people to use videophones rather than

TTYs.

        147.   As the name suggests, a videophone has a camera and a screen and transmits a

video signal, permitting deaf people -- or a deaf person and a hearing person who signs -- to see

each other and communicate directly with one another in ASL.

        148.   A videophone also enables a deaf person to communicate with a hearing person

who does not sign through a video relay service (“VRS”). A deaf person can use their

videophone to connect with a VRS interpreter who then connects by phone to a hearing person.

When the deaf person signs, the interpreter voices to the hearing person. When the hearing

person speaks, the interpreter signs to the deaf person.

TDOC’s Failure to Provide Equal Access to its Phone Program

        149.   TDOC permits inmates to make phone calls to individuals who are on their

allowed telephone number list (“ATN list”). TDOC Administrative Policies and Procedures

(“Policy”) 503.08 ¶ VI(B)(2).

        150.   Telephones are readily accessible to hearing inmates and may be used during days

and times of day specified by the Warden of each facility. Policy 503.08 ¶¶ VI(A)(3), (D)(1)-

(2).



                                                 20

Case 3:20-cv-00276        Document 18-1        Filed 07/13/20     Page 20 of 43 PageID #: 134
       151.    Telephones are generally available at TDOC facilities from 6 a.m. to 10 p.m. local

time. Policy 503.08 ¶ VI(A)(3).

       152.    Each telephone call is limited to no more than thirty minutes. Policy 503.08

¶ VI(B)(6)

       153.    Hearing inmates who wish to contact hearing family members or friends are

permitted to walk up to the phones at any time they are available and place a call, provided they

have paid for the time (or are calling collect) and are calling someone on their ATN list.

       154.    Policy 503.08 generally states, “Adaptations for the hearing impaired shall be

provided.” ¶V. This policy goes on to state, “A TTY system shall be made available at all

TDOC and privately managed institutions as needed.” ¶VI(D)(3).

       155.    TDOC does not make TTYs available to deaf and hard of hearing inmates on the

same basis that telephones are available to hearing inmates.

       156.    Some TDOC prisons do not have a TTY on their premises.

       157.    Some TDOC prisons do not have a functioning TTY on their premises.

       158.    Instead, deaf and hard of hearing inmates must submit a written request to their

counselor or designated unit management team member to use the TTY.

       159.    The counselor/unit management team member then makes arrangements to “allow

the inmate to place the TTY call using a staff telephone….” Policy 503.08 ¶VI(D)(3)(b).

       160.    This policy is unequal on its face to the policy governing use of the telephone.

       161.    In addition, TDOC’s policy for TTY usage often results in deaf and hard of

hearing inmates experiencing delays between submission of their call request and being allowed

to make the call.




                                                21

Case 3:20-cv-00276        Document 18-1        Filed 07/13/20      Page 21 of 43 PageID #: 135
       Mr. Trivette’s Unequal Access to TDOC Phone Program

       162.    Because his primary language is ASL, Mr. Trivette has difficulty communicating

through a TTY. He requires access to a videophone for effective communication.

       163.    Mr. Trivette’s hearing mother and deaf friends do not have access to TTYs.

       164.    Until TDOC installed a videophone in fall 2018 at North East Correctional

Complex (NECX), only one of the many TDOC facilities, Mr. Trivette had no choice but to use a

TTY to attempt to communicate with his mother and friends through a telecommunications relay

service (“TTY Relay” or “TRS”). This did not result in effective communication.

       165.    TRS permits a deaf person and a hearing person who does not sign to

communicate. Using TRS, a deaf caller uses a TTY to call the hearing person’s telephone

number. The call is answered by a hearing communications assistant who then connects to the

hearing person’s phone. As the deaf person types in written English, the call assistant receives

the text and then conveys that text verbally to the hearing recipient. As the hearing caller speaks,

the call assistant uses a TTY to type the information in written English to the deaf recipient.

TRS does not permit the caller or the recipient to communicate in ASL, only in written English.

TRS does not permit the caller and recipient to communicate directly with each other, only

through an intermediary call assistant. This is the method Mr. Trivette used to attempt to

communicate with his mother by TTY.

       166.    When Mr. Trivette communicated with deaf friends by TTY, the TRS involved an

additional step. After a deaf caller types into the TTY, the communications assistant reads the

text to a hearing Video Relay Service (“VRS”) interpreter who signs to the deaf individual

receiving the call on their videophone. When the deaf called-party responds, they sign back to

the VRS interpreter who speaks to the TTY operator who types the response back to the deaf



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Case 3:20-cv-00276        Document 18-1        Filed 07/13/20      Page 22 of 43 PageID #: 136
caller. This process thus adds two intermediaries to a conversation between two people and can

cause extreme delays, miscommunication, and confusion in their communication.

          167.   Even when they work properly, these double-relay processes initiated by TTY are

far more cumbersome and time consuming than a phone call, a videophone (“VP”) call, or even a

VRS call.

          168.   On many occasions when Mr. Trivette attempted to use the TTY for

communication, it did not work properly.

          169.   The TTY often skipped words or jumbled them, or sometimes both.

          170.   Mr. Trivette had no way to communicate with his mother in his primary language

of ASL or to directly communicate with his deaf friends by phone until one TDOC facility

installed a videophone in fall 2018.

          171.   Limiting Mr. Trivette to communicating through a TTY until fall 2018 essentially

limited him to writing letters in rudimentary English -- some on paper, some on the TTY -- while

hearing inmates with hearing family and friends are permitted two different modes of

communication: letters; and the more direct and intimate communication of a phone call. In

addition, unlike for hearing inmates, communicating in written English is extremely difficult for

Mr. Trivette since ASL, not English, is his primary language. So, limiting Mr. Trivette to written

communication is in some ways analogous to limiting a hearing inmate whose primary language

is English to only writing letters in Spanish despite having only taken some Spanish during grade

school.

          172.   Even after TDOC’s installation of a VP at Northeast Correctional Complex

(“NECX”) in fall 2018, Mr. Trivette by and large still lacked equal access to TDOC’s phone

program due to problems with its specific VP equipment and/or VP connectivity.



                                                23

Case 3:20-cv-00276         Document 18-1       Filed 07/13/20     Page 23 of 43 PageID #: 137
       173.    The VP at NECX often freezes, pixelates, or moves in slow motion, interfering

with Mr. Trivette’s ability to understand the signing of the individual on the end of the call and

vice versa.

       174.    Sometimes the screen goes black on one end, effectively preventing any

communication attempts.

       175.    Mr. Trivette reported these VP problems to TDOC personnel.

       176.    However, TDOC failed to address them and again left him with no access to

effective communication or with only an unequal lesser access to effective communication than

was provided to other hearing inmates

       177.    In addition, TDOC continued its failure to provide equal phone access to Mr.

Trivette by placing more restrictions on Mr. Trivette’s use of the VP than on use of telephones

by hearing inmates.

       178.    TDOC allowed Mr. Trivette to make only three (3) VP calls per week.

       179.    TDOC restricted Mr. Trivette’s VP calls to Monday, Wednesday, and Friday.

       180.    TDOC restricted Mr. Trivette to making one VP call on each of those days and

required the calls to be made between 8:30 a.m. and 10:00 a.m. or between 1:30 p.m. and 2:30

p.m.

       181.    In addition, each call was limited to 30 minutes in length.

       182.    When Mr. Trivette asked why TDOC was placing these restrictions on his VP

calls, TDOC staff indicated in writing on a post-it note, “the state is paying for the system to be

here, so it can be limited.”




                                                 24

Case 3:20-cv-00276         Document 18-1       Filed 07/13/20       Page 24 of 43 PageID #: 138
         Mr. Stinnett’s Unequal Access to TDOC’s Phone Program

         183.   Because his primary language is ASL, Mr. Stinnett has difficulty communicating

in written English through a TTY. He requires access to a videophone for effective

communication.

         184.   Mr. Stinnett’s family members (most of whom are also Deaf) do not have access

to TTYs.

         185.   Mr. Stinnett struggles to communicate with his Deaf mother through TTY Relay

(TRS).

         186.   TRS is always a cumbersome process and even more so when both the caller and

recipient are Deaf. After a deaf caller types into the TTY, the communications assistant reads

the text to a hearing Video Relay Service (“VRS”) interpreter who signs to the deaf individual

receiving the call on their videophone. When the deaf called-party responds, they sign back to

the VRS interpreter who speaks to the TTY operator who types the response back to the deaf

caller. This process thus adds two intermediaries to a conversation between two people and can

cause extreme delays, miscommunication, and confusion in their communication. This is the

process Mr. Stinnett uses when using the TTY to call his Deaf mother.

         187.   Mr. Stinnett is unable to communicate with his grandparents at all through TTY

Relay. He is particularly distressed that he is unable to communicate with grandfather who has

worsening dementia.

         188.   Despite repeated requests, TDOC did not provide a videophone to Mr. Stinnett

while he was housed at BCCX.

         189.   There are no videophones at BCCX.

         190.   There is a videophone at NECX but that videophone does not work properly.



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Case 3:20-cv-00276        Document 18-1       Filed 07/13/20     Page 25 of 43 PageID #: 139
         191.   Because there is not a properly working videophone at NECX, Mr. Stinnett

remains unable to equally participate in TDOC’s phone program.

         192.   Because there is not a properly working videophone at NECX, Mr. Stinnett is

unable to effectively communicate with his friends and family members.

         193.   TDOC also places restrictions on videophone calls that are not placed on the

phone calls of hearing inmates. So, Mr. Stinnett has unequal access to TDOC’s phone program.

         Mr. Collins’ Unequal Access to TDOC’s Phone Program

         194.   Because his primary language is ASL, Mr. Collins has difficulty communicating

in written English through a TTY. He requires access to a videophone for effective

communication.

         195.   Mr. Collins’ hearing mother and three Deaf children do not have access to a TTY.

         196.   ASL is the primary language of Mr. Collins’ Deaf children.

         197.   Even if they had access to a TTY, Mr. Collins’ Deaf children would not be able to

effectively communicate through it in written English.

         198.   Mr. Collins struggles to communicate with his mother by TTY through TTY

relay.

         199.   Using TRS, a deaf caller uses a TTY to call the hearing person’s telephone

number. The call is answered by a hearing communications assistant who then connects to the

hearing person’s phone. As the deaf person types in written English, the call assistant receives

the text and then conveys that text verbally to the hearing recipient. As the hearing caller speaks,

the call assistant uses a TTY to type the information in written English to the deaf recipient.

TRS does not permit the caller or the recipient to communicate in ASL, only in written English.

TRS does not permit the caller and recipient to communicate directly with each other, only



                                                 26

Case 3:20-cv-00276        Document 18-1        Filed 07/13/20      Page 26 of 43 PageID #: 140
through an intermediary call assistant. This is the method Mr. Collins has used and is continuing

to use to attempt to communicate with his hearing mother by TTY.

        200.   Mr. Collins is unable to communicate with his three Deaf children, ranging in age

from five to eleven years old, at all through TTY Relay. Therefore, Mr. Collins has not been

able to communicate with his children since beginning his incarceration at BCCX in February

2020.

        201.   Mr. Collins’s children do not understand why they cannot talk with him by

videophone. This causes them to be frustrated and act out.

        202.   Despite repeated requests, TDOC has not provided a videophone to Mr. Collins

since he entered custody.

        203.   TDOC does not have a policy regarding videophones.

        204.   TDOC does not have a procedure regarding videophones.

TDOC’s Failure to Make Reasonable Accommodations/Modifications

        205.   TDOC also refused to make reasonable accommodations and/or modifications to

policies and procedures as requested by Mr. Trivette, for example, by alerting him to fire alarms

when they sounded.

        206.   TDOC also refused to make reasonable modifications and/or modifications to

policies and procedures as requested by Mr. Stinnett, for example, by alerting him to head counts

in a manner other than shouting. In addition, despite Mr. Stinnett’s experience with carpentry,

TDOC refused to allow Mr. Stinnett to work with machinery or other equipment due to his

deafness.




                                               27

Case 3:20-cv-00276          Document 18-1     Filed 07/13/20      Page 27 of 43 PageID #: 141
        207.    TDOC also refused to allow hearing inmates and staff to learn fingerspelling and

basic signs in order to communicate with Mr. Collins in a rudimentary fashion. As a result, he

feels extremely isolated.

Impact of TDOC’s Intentional Conduct

        208.    Throughout his time in TDOC custody, TDOC failed to provide Mr. Trivette with

effective communication he needed in order to access and equally participate in its programs and

services. In addition, Mr. Trivette was unable to communicate effectively telephonically with

friends and family. This discriminatory treatment and resulting isolation and other harms caused

him emotional and psychological distress, inconvenience, frustration, depression, and heartache.

        209.    From their entry into TDOC custody and ongoing, TDOC has failed to provide

Mr. Stinnett and Mr. Collins with the effective communication they need in order to access and

equally participate in its programs and services. In addition, they have been and continue to be

unable to communicate effectively telephonically with friends and family. This discriminatory

treatment and resulting isolation and other harms has caused and is continuing to cause them

emotional and psychological distress, inconvenience, frustration, depression, and heartache, and

is an ongoing violation of their civil rights.

        210.    TDOC’s actions in refusing to provide effective communication, including

qualified sign language interpreters, to Mr. Trivette from 2015 through 2019 was intentional

and/or constituted deliberate indifference to the strong likelihood that these policies and practices

would likely result in a violation of Plaintiff Trivette’s federally protected rights. Plaintiff and

DRT repeatedly alerted TDOC to his need for qualified sign language interpreters, and other

required aids, services, and accommodations, and that need is obvious. TDOC knowingly and




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Case 3:20-cv-00276          Document 18-1        Filed 07/13/20      Page 28 of 43 PageID #: 142
intentionally refused to provide qualified sign language interpreters, and other required aids,

services, and accommodations to Mr. Trivette.

       211.    TDOC’s actions in refusing to provide effective communication, including

qualified sign language interpreters, to Mr. Stinnett and Mr. Collins from their entry into custody

and ongoing were and continue to be intentional and/or constituted and continue to constitute

deliberate indifference to the strong likelihood that these policies and practices would and will

likely result in a violation of their federally protected rights. Plaintiffs Stinnett and Collins have

repeatedly alerted TDOC to their need for qualified sign language interpreters, and other required

aids, services, and accommodations, and that need is obvious. TDOC knowingly and

intentionally refused and continues to refuse to provide qualified sign language interpreters and

other required aids, services, and accommodations to Mr. Stinnett and Mr. Collins.

       212.    Despite requests from current deaf inmates and DRT and the obvious need,

TDOC continues to routinely refuse to provide qualified sign language interpreters to deaf and

hard of hearing inmates for communications including orientation, classification, the STRONG-

R, medical appointments, classes, and other programming and services. TDOC’s refusal to

provide qualified sign language interpreters to deaf and hard of hearing inmates when needed for

effective communication is intentional and/or constitutes deliberate indifference to the strong

likelihood that these policies and practices will likely result in a violation of these inmates’

federally protected rights. TDOC is knowingly and intentionally refusing to provide qualified

sign language interpreters when needed for effective communication.

       213.    TDOC’s actions in refusing to provide a videophone at all to Mr. Trivette until

fall 2018 and then failing both to ensure that it was in good working order and to provide Mr.

Trivette with access to the videophone on the same basis that hearing inmates have access to



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Case 3:20-cv-00276         Document 18-1         Filed 07/13/20      Page 29 of 43 PageID #: 143
telephones was intentional and/or constituted deliberate indifference to the strong likelihood that

these policies and practices would likely result in a violation of Plaintiff Trivette’s federally

protected rights.

       214.    Plaintiff Trivette and Plaintiff DRT repeatedly alerted Defendant to the need for a

videophone in good working order and on the same terms and conditions as a telephone and that

need is obvious. Defendant knowingly and intentionally initially refused to provide the requested

videophone to Mr. Trivette at NECX at all. Once TDOC did provide a videophone, TDOC

knowingly and intentionally failed to provide the videophone in good working order and on the

same terms and conditions as a telephone.

       215.    Despite requests from current deaf inmates including but not limited to Mr.

Stinnett and Mr. Collins and DRT, TDOC continues to refuse to provide a videophone to deaf

and hard of hearing inmates housed at any of the TDOC facilities besides NECX. In addition,

TDOC has not taken actions to ensure the videophone at NECX is in good working condition.

TDOC’s refusal to provide a videophone at facilities besides NECX and to correct the problems

with the videophone at NECX is intentional and/or constitutes deliberate indifference to the

strong likelihood that this policy and practice will likely result in a violation of the federally

protected rights of Mr. Stinnett, Mr. Collins, and other deaf and hard of hearing inmates.

Disability Rights Tennessee’s Advocacy for Deaf and Hard of Hearing Inmates

       216.    DRT is part of the nationwide Protection and Advocacy (“P&A”) system which is

mandated by Congress to protect and advocate for the rights of people with disabilities in the

United States. There is a P&A in all fifty states and in United States territories.

       217.    Disability Rights Tennessee is the P&A organization designated for the State of

Tennessee.



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Case 3:20-cv-00276         Document 18-1         Filed 07/13/20      Page 30 of 43 PageID #: 144
        218.    Disability Rights Tennessee has a physical presence in each of Tennessee’s three

Grand Divisions, East, Middle, and West. DRT is headquartered in Nashville with regional

offices in Memphis and Knoxville.

        219.    Congress has charged DRT with the statutory responsibility to represent and

advocate for the rights of persons with disabilities, including deaf and hard of hearing individuals

in state institutions, including state prisons, who have standing to sue on their own right.

        220.    DRT has statutory authority to pursue legal remedies on behalf of individuals with

disabilities whose federal rights are being violated pursuant to 42 U.S.C.A. § 15043, 42 U.S.C. §

300d-53(k), 42 U.S.C. § 10805, and 29 U.S.C. § 794e(f).

        221.    DRT’s mission is to ensure individuals with disabilities in Tennessee have

freedom from harm, freedom to participate in the community, and freedom from discrimination.

        222.    DRT has a multiple member board of directors which includes people with

disabilities.

        223.    DRT represents people with sensory disabilities, including those who are deaf and

hard of hearing, and provides means by which they express their collective views and protect

their collective interests.

        224.    People with disabilities who are served individually or whose communities are

served provide input to DRT through DRT’s PAIMI Advisory Council, stakeholder and

constituent surveys, and grievance process.

        225.    DRT does multiple types of surveys of DRT’s constituents and advisory council

members. These surveys include a stakeholder and constituent survey sent out every three years,

and a satisfaction survey at the conclusion of each service request. This feedback from




                                                 31

Case 3:20-cv-00276            Document 18-1     Filed 07/13/20      Page 31 of 43 PageID #: 145
constituents and their families informs the financial and programmatic decisions regarding the

delivery of services and the allocation of resources for future advocacy.

        226.    In addition, DRT collaborates regularly with local and state disability

organizations and taskforces that consist, in part, of people with disabilities.

        227.    DRT also has a grievance procedure so that individuals with disabilities have full

access to and input into DRT’s services and areas of work.

        228.    As a result of DRT’s organizational structure, leadership, allocation of resources

for future advocacy and outreach, connections with constituents in the disability community, and

involvement in disability-rights advocacy, people with disabilities have a strong voice in and a

direct influence on the work of DRT.

        229.    Inmates who are deaf and hard of hearing and are in TDOC custody are among

the constituents who are served by, and who inform the work of, DRT. The interest of these

constituents goes to the heart of DRT’s mission to ensure that people with disabilities, including

deaf and hard of hearing individuals, are free from harm and discrimination and have equal

access to services and supports that they are entitled to under the ADA and Section 504.

        230.    DRT has standing on behalf of its constituents and clients who are substantially

affected by Defendant’s noncompliance with constitutional and statutory protections because

such noncompliance falls within DRT’s general scope of interest and activity; the relief

requested is appropriate for DRT to receive on behalf of its individual constituents; and though

neither the claims asserted nor the relief requested require the participation of individual

members or constituents in the lawsuit, DRT is joining in this lawsuit in conjunction with

Plaintiffs Trivette, Stinnett, and Collins.




                                                  32

Case 3:20-cv-00276         Document 18-1        Filed 07/13/20       Page 32 of 43 PageID #: 146
       231.     DRT’s constituents, including but not limited to Mr. Trivette, Mr. Stinnett and

Mr. Collins, have suffered injury—and continue to suffer injury—that would allow them to have

standing to sue in their own right. The interests that DRT seeks to protect are germane to DRT’s

purpose.

       232.     DRT brings this suit on behalf of individual inmates in TDOC custody, including

but not limited to Mr. Stinnett and Mr. Collins, who are deaf and hard of hearing and who are

being denied effective communication and equal access to TDOC’s programs and services in

violation of the ADA and Section 504, and in conjunction with Plaintiffs Trivette, Stinnett, and

Collins.

       233.     TDOC’s longstanding and ongoing pattern and practice of discrimination against

deaf and hard of hearing inmates has impeded DRT’s mission of ensuring individuals with

disabilities have freedom from harm and discrimination.

       234.     The availability of financial resources and DRT staff, including but not limited to,

advocates and attorneys, directly impacts DRT’s ability to open cases and advocate for its

constituents.

       235.     DRT has attempted to resolve the issue of TDOC denying deaf and hard of

hearing inmates in TDOC custody effective communication and equal access to goods and

services for years prior to this lawsuit. Despite these efforts, DRT has been unable to achieve the

reforms necessary to redress the ongoing lack of effective communication and unequal access to

programs and services experienced by inmates who are deaf and hard of hearing in TDOC

custody.




                                                 33

Case 3:20-cv-00276        Document 18-1        Filed 07/13/20      Page 33 of 43 PageID #: 147
        236.     As a result, DRT has invested significant time and related financial resources—

prior to and separate from this litigation--- into its advocacy efforts for TDOC to provide

effective communication to deaf and hard of hearing inmates.

        237.    If TDOC had complied with federal law and provided inmates in its custody who

are deaf and hard of hearing with effective communication and equal access to programs and

services, then DRT could and would have devoted these considerable resources to advocating for

and protecting the rights of other vulnerable individuals with disabilities in Tennessee.

                       FIRST CLAIM FOR RELIEF:
     VIOLATION OF TITLE II OF THE AMERICANS WITH DISABILITIES ACT
                           42 U.S.C. § 12131 et seq.

        238.     Plaintiffs incorporate the allegations set forth in the remainder of Complaint as if

fully set forth herein.

        239.    Title II prohibits public entities such as Defendant TDOC from excluding

individuals with disabilities from participation in or denying them the benefits of their services,

programs or activities, or otherwise subjecting such individuals to discrimination. 42 U.S.C.

§ 12132.

        240.    Because Plaintiff Trivette is Deaf and was an inmate in the custody of the TDOC

during all occurrences alleged herein, he is a qualified individual with a disability within the

meaning of the Americans with Disabilities Act. 42 U.S.C. § 12102.

        241.              Because Plaintiffs Stinnett and Collins are Deaf, are currently in the

custody of TDOC, and have been inmates in the custody of the TDOC during all occurrences

alleged herein, they are qualified individuals with a disability within the meaning of the

Americans with Disabilities Act. 42 U.S.C. § 12102.




                                                   34

Case 3:20-cv-00276           Document 18-1        Filed 07/13/20      Page 34 of 43 PageID #: 148
       242.    Defendant TDOC excluded Plaintiff Trivette from participation in and/or denied

him the benefits of it services, programs, and/or activities and/or subjected him to discrimination

on the basis of disability in violation of Title II and its implementing regulations as more fully

described in this Complaint.

       243.    Defendant TDOC has excluded and is continuing to exclude Plaintiffs Stinnett

and Collins from participation in and/or denied and is continuing to deny them the benefits of its

services, programs, and activities and/or subjected and is continuing to subject them to

discrimination on the basis of disability in violation of Title II and its implementing regulations

as more fully described in this Complaint.

       244.    Such discrimination includes but is not limited to:

           a. denying Plaintiffs Trivette, Stinnett, and Collins the opportunity to participate in

               or benefit from an aid, benefit, or service, 28 C.F.R. § 35.130(b)(1)(i);

           b. affording Plaintiffs Trivette, Stinnett, and Collins the opportunity to participate in

               or benefit from an aid, benefit, or service that is not equal to that afforded others,

               see id. § 35.130(b)(1)(ii);

           c. providing Plaintiffs Trivette, Stinnett, and Collins with aids, benefits, and services

               that are not as effective in affording equal opportunity to obtain the same result, to

               gain the same benefit, or to reach the same level of achievement as that provided

               to others, see id. § 35.130(b)(1)(iii);

           d. using criteria and methods of administration that have the effect of subjecting

               Plaintiffs Trivette, Stinnett, and Collins to discrimination on the basis of

               disability, see id. § 35.130(b)(3)(i);




                                                  35

Case 3:20-cv-00276        Document 18-1         Filed 07/13/20       Page 35 of 43 PageID #: 149
           e. using criteria and methods of administration that have the purpose or effect of

               defeating or substantially impairing accomplishment of the objectives of TDOC’s

               program with respect to Plaintiffs Trivette Stinnett, and Collins, see id.

               § 35.130(b)(3)(ii);

           f. failing to make reasonable modifications in policies, practices, or procedures

               when the modifications are necessary to avoid discrimination against Plaintiffs

               Trivette, Stinnett, and Collins on the basis of disability, see id. § 35.130(b)(7);

           g. failing to ensure that communications with Plaintiff Trivette, Stinnett, and Collins

               were and are as effective as communications with others, see id. § 35.160(a)(1);

           h. failing to furnish appropriate auxiliary aids and services where necessary to afford

               Plaintiffs Trivette, Stinnett, and Collins an equal opportunity to participate in, and

               enjoy the benefits of, TDOC’s services, programs, or activities, see id.

               § 35.160(b)(1); and/or

           i. failing to give primary consideration to the requests of Plaintiffs Trivette, Stinnett,

               and Collins concerning the types of auxiliary aids and services necessary, see id.

               § 35.160(b)(2).

       245.    During the occurrences referenced herein, Plaintiff Trivette was qualified to

participate in TDOC services, programs, and activities within the meaning of Title II.

       246.    During the occurrences referenced herein which are ongoing, Plaintiffs Stinnett

and Collins were and remain qualified to participate in TDOC services, programs, and activities

within the meaning of Title II.

       247.    Defendant TDOC’s actions described in this Complaint were and continue to be

intentional and/or were and continue to be taken with deliberate indifference to the strong



                                                 36

Case 3:20-cv-00276        Document 18-1         Filed 07/13/20      Page 36 of 43 PageID #: 150
likelihood that pursuit of its questioned policies would and will likely result in a violation of the

Title II rights of Plaintiffs Trivette, Stinnett, and Collins and the rights of other current inmates

who are deaf and hard of hearing and in TDOC custody.

       248.    As a direct and proximate result of Defendant TDOC’s acts, omissions, and

violations alleged above, Plaintiff Trivette has suffered damages as more fully described above.

       249.    As a direct and proximate result of Defendant TDOC’s acts, omissions, and

violations alleged above and which are ongoing, Plaintiffs Stinnett and Collins have suffered and

continue to suffer damages as more fully described above.

       250.    Plaintiffs Trivette, Stinnett, and Collins has been injured and aggrieved by and

will continue to be injured and aggrieved by Defendant TDOC’s discrimination against them.

       251.    In addition to Inmates Stinnett and Collins, other inmates who are deaf and hard

of hearing and presently in TDOC custody are being denied their federal rights to equal access to

TDOC programs and services and effective communication and are being injured and aggrieved

by Defendant TDOC’s ongoing discrimination against them.

       252.    Plaintiff DRT has been injured and aggrieved by Defendant TDOC’s

discrimination against Plaintiff Trivette, Plaintiff Stinnett, Plaintiff Collins, and other deaf and

hard of hearing inmates. Plaintiff DRT continues to be injured and aggrieved by TDOC’s

ongoing discrimination against deaf and hard of hearing inmates.

                        SECOND CLAIM FOR RELIEF:
            VIOLATION OF SECTION 504 OF THE REHABILITATION ACT
                               29 U.S.C. § 794

       253.     Plaintiffs incorporate the allegations set forth in all of the other paragraphs of this

Complaint as if fully set forth herein.




                                                  37

Case 3:20-cv-00276         Document 18-1         Filed 07/13/20      Page 37 of 43 PageID #: 151
       254.     Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, prohibits discrimination

on the basis of disability by recipients of federal financial assistance.

       255.    Defendant TDOC receives federal financial assistance as that term is used in

Section 504. 29 U.S.C. § 794.

       256.     Because he is Deaf and was an inmate in the custody of TDOC at all times

relevant to his allegations in this Complaint, Plaintiff Trivette is a qualified individual with a

disability within the meaning of Section 504. 29 U.S.C. § 705(9) (incorporating by reference 42

U.S.C. § 12102).

       257.    Because they are Deaf, are currently inmates in the custody of TDOC, and were in

the custody of TDOC at all times relevant to their allegations in this Complaint, Plaintiffs

Stinnett and Collins are qualified individuals with disabilities within the meaning of Section 504.

29 U.S.C. § 705(9) (incorporating by reference 42 U.S.C. § 12102).

       258.    Defendant TDOC excluded Plaintiff Trivette from participation in and/or denied

him the benefits of it programs and/or activities and/or subjected him to discrimination solely by

reason of his disability and in violation of Section 504 and its implementing regulations as more

fully described in this Complaint.

       259.    Defendant TDOC excluded and continues to exclude Plaintiffs Stinnett and

Collins from participation in and/or denied and continues to deny them the benefits of its

programs and/or activities and/or subjected and continues to subject them to discrimination

solely by reason of their disabilities and in violation of Section 504 and its implementing

regulations as more fully described in this Complaint.



       260.    Such discrimination includes but is not limited to:



                                                  38

Case 3:20-cv-00276         Document 18-1         Filed 07/13/20      Page 38 of 43 PageID #: 152
           a. denying Plaintiffs Trivette, Stinnett, and Collins the opportunity to participate in

              TDOC’s programs and activities, see 28 C.F.R. § 42.503(b)(1)(i);

           b. denying Plaintiffs Trivette, Stinnett, and Collins an equal opportunity to achieve

              the same benefits that others achieve in TDOC’s programs and activities, see id.

              § 42.503(b)(1)(ii);

           c. denying Plaintiffs Trivette, Stinnett, and Collins an equal opportunity to achieve

              the same benefit that others achieve in TDOC’s programs and activities by

              providing him no effective communication in those programs, see id.

              § 42.503(b)(1)(vi);

           d. using criteria or methods of administration that either purposely or in effect

              discriminate on the basis of disability or defeat or substantially impair

              accomplishment of the objectives of TDOC’s programs or activities with respect

              to Plaintiffs Trivette, Stinnett, and Collins; see id. § 42.503(b)(3);

           e. failing to provide appropriate auxiliary aids to Plaintiffs Trivette, Stinnett, and

              Collins, thereby discriminatorily impairing or excluding them from participation

              in TDOC’s programs and activities, see id. § 42.503(f); and/or

           f. failing to provide reasonable accommodations to Plaintiffs Trivette, Stinnett, and

              Collins as necessary to ensure that they have meaningful access to TDOC’s

              programs, activities, or benefits, see Alexander v. Choate, 469 U.S. 287, 301

              (1985).

       261.   At all times relevant to his allegations in this Complaint, Plaintiff Trivette was

qualified to participate in TDOC services, programs, and activities within the meaning of Section

504.



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Case 3:20-cv-00276        Document 18-1        Filed 07/13/20      Page 39 of 43 PageID #: 153
       262.    At all times relevant to their allegations in this Complaint which are ongoing,

Plaintiffs Stinnett and Collins were and remain qualified to participate in TDOC services,

programs, and activities within the meaning of Section 504.

       263.    Defendant TDOC’s actions described in this Complaint were and remain

intentional and/or were and remain taken with deliberate indifference to the strong likelihood

that pursuit of its questioned policies and practices would likely result in a violation of the

Section 504 rights of Plaintiffs Trivette, Stinnett, and Collins and the rights of other current

inmates who are deaf and hard of hearing and in TDOC custody.

       264.    As a direct and proximate result of Defendant TDOC’s acts, omissions, and

violations alleged above, Plaintiff Trivette has suffered damages, as more fully described above.

       265.    As a direct and proximate result of Defendant TDOC’s actions, omissions, and

violations alleged above, Plaintiffs Stinnett and Collins have suffered and continue to suffer

damages, as more fully described above.

       266.    Plaintiff Trivette has been injured and aggrieved by Defendant TDOC’s

discrimination against him.

       267.    Plaintiffs Stinnett and Collins have been and continue to be injured and aggrieved

by Defendant TDOC’s ongoing discrimination against them.

       268.    Plaintiffs Stinnett, Collins, and other inmates who are deaf and hard of hearing

and presently in TDOC custody are being denied their federal rights to equal access to TDOC

programs and services and effective communication and are being injured and aggrieved by

Defendant TDOC’s discrimination against them.

       269.     Plaintiff DRT has been injured and aggrieved by Defendant TDOC’s

discrimination against Plaintiffs Trivette, Plaintiff Stinnett, Plaintiff Collins, and other deaf and



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Case 3:20-cv-00276         Document 18-1        Filed 07/13/20       Page 40 of 43 PageID #: 154
hard of hearing inmates. Plaintiff DRT continues to be injured and aggrieved by TDOC’s

ongoing discrimination against deaf and hard of hearing inmates.

WHEREFORE, Plaintiff respectfully requests:

       1.        That this Court assume jurisdiction;

       2.        That this Court declare the actions of Defendant TDOC described in this

Complaint to be in violation of Title II of the Americans with Disabilities Act and Section 504 of

the Rehabilitation Act;

       3.        That this Court enter an injunction ordering Defendant TDOC to cease violating

the rights of deaf and hard of hearing inmates under Title II and Section 504, and to cease

discriminating against these inmates on the basis of disability, and requiring Defendant TDOC to

begin providing auxiliary aids and services and reasonable modifications, including but not

limited to qualified sign language interpreters and videophones, to deaf and hard of hearing

inmates and to develop policies, procedures, and training to ensure non-discrimination against

and equal access for these inmates;

       4.        That this Court award Plaintiffs compensatory damages pursuant to Title II and

Section 504;

       5.        That this Court award Plaintiffs and/or their attorneys their reasonable attorneys’

fees and costs; and

       6.        That this Court award such additional or alternative relief as may be just, proper,

and equitable.




                                                  41

Case 3:20-cv-00276          Document 18-1        Filed 07/13/20     Page 41 of 43 PageID #: 155
Respectfully submitted,


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Dated: July 13, 2020




                                             42

Case 3:20-cv-00276          Document 18-1   Filed 07/13/20   Page 42 of 43 PageID #: 156
                                 CERTIFICATE OF SERVICE

       I certify that, on July 13, 2020, I served the foregoing document upon all parties herein by e-

filing with the CM/ECF system maintained by the court which will provide notice to the following:

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                                                 43

Case 3:20-cv-00276        Document 18-1         Filed 07/13/20      Page 43 of 43 PageID #: 157
